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  10
  11                        UNITED STATES DISTRICT COURT
  12          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14 PARAMOUNT PICTURES                         Case No. 2:19-cv-01156-DMG-PJW
     CORPORATION; COLUMBIA
  15 PICTURES INDUSTRIES, INC.;
     DISNEY ENTERPRISES, INC.;                  STIPULATION PERMITTING
  16 TWENTIETH CENTURY FOX FILM                 PLAINTIFFS TO SERVE THIRD-
     CORPORATION; WARNER BROS.                  PARTY SUBPOENAS PRIOR TO
  17 ENTERTAINMENT INC.;                        RULE 26(F) CONFERENCE
     UNIVERSAL CITY STUDIOS
  18 PRODUCTIONS LLLP; UNIVERSAL
     TELEVISION LLC; and UNIVERSAL              Judge: Hon. Dolly M. Gee
  19 CONTENT PRODUCTIONS LLC,                   Courtroom: 8C
                                                Trial Date: None Set
  20               Plaintiffs,
  21 vs.
  22 OMNIVERSE ONE WORLD
     TELEVISION, INC.; JASON M.
  23 DEMEO,
  24               Defendants.
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                                                                     Case No. 2:19-cv-01156
                STIPULATION PERMITTING PLAINTIFFS TO SERVE THIRD-PARTY SUBPOENAS
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   1         WHEREAS, Plaintiffs Paramount Pictures Corporation, Columbia Pictures
   2 Industries, Inc., Disney Enterprises, Inc., Twentieth Century Fox Film Corporation,
   3 Warner Bros. Entertainment Inc., Universal City Studios Productions LLLP,
   4 Universal Television LLC, and Universal Content Productions LLC (collectively,
   5 “Plaintiffs”) filed a Complaint against Defendants Omniverse One World
   6 Television, Inc. and Jason M. DeMeo (collectively, “Omniverse”) on February 14,
   7 2019, which was served on February 17, 2019, see Dkts. 14, 15;
   8         WHEREAS, the parties stipulated to extend Omniverse’s deadline to answer
   9 or otherwise respond to Plaintiffs’ Complaint until April 10, 2019, see Dkts. 18, 19;
  10         WHEREAS, pursuant to Federal Rule of Civil Procedure 26(d), Plaintiffs
  11 may seek discovery prior to the Rule 26(f) conference if, as relevant here, the parties
  12 stipulate to such expedited discovery;
  13         WHEREAS, Omniverse has represented that its affirmative defense to
  14 Plaintiffs’ claims depends on documents in the possession of third parties Hovsat
  15 Cable and its owner Shant Hovnanian (collectively, “Hovsat”) and DirecTV;
  16         WHEREAS, the parties have met and conferred and agree that service of the
  17 attached third-party subpoenas on Hovsat and DirecTV, pursuant to Rule 45, may
  18 expedite or facilitate resolution of the litigation;
  19         WHEREAS, Plaintiffs’ proposed subpoena directed to Hovsat is attached
  20 hereto as Exhibit A, and Plaintiffs’ proposed subpoena directed to DirecTV is
  21 attached hereto as Exhibit B;
  22         WHEREFORE, IT IS HEREBY STIPULATED AND AGREED TO BY
  23 THE PARTIES that at any time prior to the Rule 26(f) conference between the
  24 parties, Plaintiffs may serve a subpoena substantively identical to that attached
  25 hereto as Exhibit A on Hovsat, and a subpoena substantively identical to that
  26 attached hereto as Exhibit B on DirecTV.
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                 STIPULATION PERMITTING PLAINTIFFS TO SERVE THIRD-PARTY SUBPOENAS
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   1 DATED: April 9, 2019                  MUNGER, TOLLES & OLSON LLP
   2
                                           By: /s/ Glenn D. Pomerantz
   3                                           GLENN D. POMERANTZ
   4                                       Attorneys for Plaintiffs

   5
       DATED: April 9, 2019                TROJAN LAW OFFICES
   6
   7                                       By: /s/ R. Joseph Trojan
                                               R. JOSEPH TROJAN
   8
                                           Attorneys for Defendants
   9
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  11
  12                              FILER’S ATTESTATION
  13        I, Glenn D. Pomerantz, am the ECF user whose identification and password
  14 are being used to file this Stipulation to Extend Time to Respond to Initial
  15 Complaint by Not More than 30 Days. Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i),
  16 I hereby attest that the above-named signatories concur in and authorize this filing.
  17
  18 DATED: April 9, 2019
  19                                       By: /s/ Glenn D. Pomerantz
                                               GLENN D. POMERANTZ
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                                                -3-                     Case No. 2:19-cv-01156
                STIPULATION PERMITTING PLAINTIFFS TO SERVE THIRD-PARTY SUBPOENAS
